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                                                                                                         Rev. 6/2018


                    UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                             FOR THE DISTRICT OF COLUMBIA

DAVID J. ACKLEY, JR. ET AL.

_________________________________________
                        Plaintiff(s)

        vs.                                                        Civil Action No.: 1:20-cv-621
THE ISLAMIC REPUBLIC OF IRAN

_________________________________________
                        Defendant(s)


                                  AFFIDAVIT REQUESTING FOREIGN MAILING

        I, the undersigned, counsel of record for plaintiff(s), hereby request that the Clerk mail a copy of the
default judgment
summons    and complaint (and notice of suit, where applicable) to (list name(s) and address(es) of defendants):
The Islamic Republic of Iran
c/o Minister of Foreign Affairs
Ministry of Foreign Affairs
Imam Khomeini Street
Imam Khomeini Square
Tehran, Iran 1136914811

by: (check one)                ❑      certified or registered mail, return receipt requested
                               ❑      DHL
                               ❑✔     Fed Ex
pursuant to the provisions of: (check one)
                               ❑      FRCP 4(f)(2)(C)(ii)
                               ❑✔     28 U.S.C. § 1608(a)(3)
                               ❑      28 U.S.C. § 1608(b)(3)(B)
                               ❑      28 U.S.C. § 1608(a)(4)

       I certify that this method of service is authorized by the domestic law of (name of country):
 Iran                                                                        , and that I obtained this information
by contacting the Overseas Citizens Services, U.S. Department of State.

                                                                      /s/ Joshua M. Ambush
                                                                             (Signature)
                                                            Joshua M. Ambush
                                                            Law Offices of Joshua M. Ambush, LLC
                                                            106 Old Court Road, Suite 303
                                                            Baltimore, MD 21208


                                                                         (Name and Address)
